Case: 24-20043           Document: 41-1         Page: 1      Date Filed: 08/22/2024




          United States Court of Appeals
               for the Fifth Circuit                                        United States Court of Appeals
                                                                                     Fifth Circuit

                                  ____________                                     FILED
                                                                             August 22, 2024
                                   No. 24-20043                               Lyle W. Cayce
                                 Summary Calendar                                  Clerk
                                 ____________

United States of America,

                                                                   Plaintiff—Appellee,

                                         versus

Dylan Kinlock,

                                           Defendant—Appellant.
                  ______________________________

                  Appeal from the United States District Court
                      for the Southern District of Texas
                           USDC No. 4:22-CR-126-1
                  ______________________________

Before Smith, Stewart, and Duncan, Circuit Judges.
Per Curiam: *
      Dylan Kinlock, federal prisoner # 93655-509, appeals the denial of his
motion for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) based on
Subpart 1 of Part B of Amendment 821 to the Sentencing Guidelines. His
motion requested a reduction of his within-guidelines 56-month sentence for
conspiracy to commit wire fraud. Kinlock argues that the district court

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 24-20043        Document: 41-1        Page: 2     Date Filed: 08/22/2024




                                  No. 24-20043


abused its discretion by failing to determine his eligibility for sentence
modification and by failing to consider the 18 U.S.C. § 3553(a) factors,
including his rehabilitation in prison, either explicitly or implicitly.
       We review for abuse of discretion a district court’s decision whether
to reduce a sentence pursuant to § 3582(c)(2). United States v. Calton, 900
F.3d 706, 710 (5th Cir. 2018). In this case, the district court expressly stated
in its order that it had considered the U.S.S.G. § 1B1.10 policy statement and
the § 3553(a) factors and that it had considered Kinlock’s “motion,” which
we construe to include his attached memorandum in support. A district
court is not required to provide detailed reasons for denying a § 3582(c)(2)
motion. See United States v. Evans, 587 F.3d 667, 673-74 (5th Cir. 2009). We
further note that the district court judge who denied Kinlock’s § 3582(c)(2)
motion is the same judge who sentenced him less than eight months before
he filed the § 3582(c)(2) motion. Given these facts and the district court’s
implicit consideration of Kinlock’s arguments in his § 3582(c)(2)
memorandum regarding his eligibility for a reduction, his requested sentence,
and the applicability of the § 3553(a) factors, the record as a whole supports
an inference that the district court implicitly determined that a sentence
reduction was permissible and that the district court had a reasoned basis for
denying a sentence reduction. See Chavez-Meza v. United States, 585 U.S.
109, 115-19 (2018); see also Dillon v. United States, 560 U.S. 817, 826-27
(2010).
       In light of the foregoing, there is no basis for a determination that the
district court abused its discretion. See Calton, 900 F.3d at 710. Accordingly,
the decision of the district court is AFFIRMED.




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